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AX NIJVPEB: USAG#2018R00737
on

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

 

 

UNITED STATES OF AMERICA * — crimnatno, CC B-1F-ODRAXA
v. * (Sexual Exploitation of a Minor, 18
* U.S.C. § 2251(a); Cyberstalking,
BILAL MOHAMMAD SIDDIQUI, * 18 U.S.C. § 2261A(2)(b); Forfeiture,
* 18 U.S.C. § 2253)
Defendant. * ———. FLED
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CRIMINAL INFORMATION JUL =2' 2019
AT BALTIMORE
COUNT ONE CL GEST coun
—— ay OF Nee
(Sexual Exploitation of a Minor) °F DEPUTY

The United States Attorney for the District of Maryland charges that:

On or about September 28, 2017, in the District of Maryland, the Northern District of
Texas, and elsewhere, the defendant,

BILAL MOHAMMAD SIDDIQUI,

did knowingly employ, use, persuade, induce, entice, and coerce Jane Doe 1, an 8-year-old
prepubescent female, to engage in sexually explicit conduct as defined in 18 U.S.C. § 2256(2), for
the purpose of producing a visual depiction of such conduct, and such visual depiction was
transported and transmitted using any means and facility of interstate and foreign commerce and
was produced and transmitted using materials that had been mailed, shipped, and transported in
and affecting interstate and foreign commerce by any means, including by computer; to wit:
SIDDIQUI used an Apple iPhone, Model A1332, FCC ID: BCG-E23808, to produce a video
depicting Jane Doe 1 touching her bare chest and genitals, and using her fingers to spread her
vagina; and used the same Apple iPhone to produce an image depicting Jane Doe | spreading her

legs in a manner that exposed her vagina, and using her left hand to spread open her vagina.

18 U.S.C. § 2251{a)
18 U.S.C. § 2251(e)

 
 

 

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COUNT TWO
(Sexual Exploitation of a Minor)

The United States Attorney for the District of Maryland further charges that:

In or about August 2018, in the District of Maryland, the Middle District of North Carolina,
and elsewhere, the defendant,

BILAL MOHAMMAD SIDDIQUI,

did knowingly employ, use, persuade, induce, entice, and coerce Jane Doe 2, a 9-year-old
prepubescent female, to engage in sexually explicit conduct as defined in 18 U.S.C. § 2256(2), for
the purpose of producing a visual depiction of such conduct, and such visual depiction was
transported and transmitted using any means and facility of interstate and foreign commerce and
was produced and transmitted using materials that had been mailed, shipped, and transported in
and affecting interstate and foreign commerce by any means, including by computer; to wit:
SIDDIQUI used an Apple iPhone, Model A1332, FCC ID: BCG-E23808, to produce a series of
at least 10 videos depicting Jane Doe 2 engaging in sexually explicit conduct, including depictions

of Jane Doe 2 touching her vagina and inserting a hairbrush into her vagina.

18 U.S.C. § 2251(a)
18 U.S.C. § 2251(e)

 
 

 

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COUNT THREE
(Cyberstalking)

The United States Attorney for the District of Maryland further charges that:

From on or about September 15, 2017, through on or about October 12, 2017, in the District

of Maryland, the District of South Carolina, and elsewhere, the defendant,
BILAL MOHAMMAD SIDDIQUI,

did, with the intent to harass, intimidate, and cause substantial emotional distress to Jane Doe 4,
an 11-year-old female enrolled in the sixth grade class at a South Carolina public school, use any
interactive computer service and electronic communication service and electronic communication
system of interstate commerce, and any other facility of interstate and foreign commerce, including
the internet and mobile messaging applications Kik and Snapchat, to engage in a course of conduct
that caused, attempted to cause, and would be reasonably expected to cause substantial emotional
distress to Jane Doe 4 and an immediate family member of Jane Doe 4; to wit: SIDDIQUI
persuaded, induced, enticed, and coerced Jane Doe 4 to produce a nude image of herself, and to
produce videos depicting her displaying her genitals, and then threatened to send-—and did send—
that image and those videos to classmates of Jane Doe 4 if she did not produce additional videos
of herself engaging in sexually explicit conduct.

18 ULS.C. § 2261AQ2)(b)
18 U.S.C. § 2261(b)(S)

 

 
 

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FORFEITURE
The United States Attorney for the District of Maryland further charges that:
1. The allegations in Counts One and Two of this Information are incorporated here.
2. | Pursuant to Title 18, United States Code, Section 2253, upon conviction of an
offense in violation of Title 18, United States Code, Section 2251, the defendant,

BILAL MOHAMMAD SIDDIQUI

 

shall forfeit to the United States of America:

a. The defendant’s interest in any property, real or personal, used or intended
to be used to commit or to facilitate the commission of the offenses; and

b. Any property, real or personal, that constitutes or is derived from proceeds
obtained, directly or indirectly, as a result of the offenses. |

3, Such property includes, but is not necessarily limited to, all property seized by law

enforcement officers from the defendant, or abandoned by the defendant, that was used or intended
to be used to commit or facilitate the commission of the offense, including, but not limited to, the

following:
a. Apple iPhone, Model A1332, FCC ID: BCG-E23808; and

b. Apple MacBook Air, Model: A1466, SN: CO2Q29Q6G940.

18 U.S.C. § 2253

 

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Robert K. Hur
United States Attorney

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Date >

 
